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 5
                                   UNITED STATES DISTRICT COURT
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                                       EASTERN DISTRICT OF CALIFORNIA
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 9       UNITED STATES OF AMERICA,                               Case No. 1:11-CR-00354-04-LJO
10                                 Plaintiff,
11             v.                                                MEMORANDUM DECISION AND ORDER
                                                                 DENYING DEFENDANT’S MOTION TO
12       ARMANDO NUNEZ,                                          REDUCE SENTENCE UNDER U.S.S.G.
                                                                 AMENDMENT 782
13                                 Defendant.
14

15                                                               (Doc. 592)
16

17            Before the Court is the pro se1 motion of Defendant Armando Nunez (“Defendant”) to

18   reduce his sentence (Doc. 592), under U.S.S.G. § 1B1.10(b)(1) and Amendment 782 to the United

19   States Sentencing Guidelines,2 which revised the Drug Quantity Table in § 2D1.1 and reduced by

20   two levels the offense level applicable to many drug trafficking offenses. The Government has

21   opposed the motion. Doc. 622. Upon a thorough review of the parties’ briefing, the record in the

22   case including the Probation Office’s Presentence Report (“PSR”) (Doc. 365), and the relevant law,

23   the Court will deny the motion.

24            Standard of Review

25            A federal sentencing court is authorized to modify an imposed sentence when the relevant

26   sentencing range was lowered subsequent to a defendant’s original sentence. 18 U.S.C.

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28     On August 13, 2015, the Office of the Federal Defender filed notice that it did not recommend appointment of counsel
     to represent Defendant on the instant motion. Doc. 613.
     2
       Hereinafter, all references to sections (§) refer to the United States Sentencing Guidelines unless otherwise indicated.
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 1   § 3582(c)(2); see United States v. Dunn, 728 F.3d 1151, 1155 (9th Cir. 2013). Effective November

 2   1, 2014, the Commission promulgated Amendment 782, which generally revised the Drug Quantity

 3   Table and chemical quantity tables across drug and chemical types. Amendment 782 is retroactively

 4   applicable to previously sentenced defendants.

 5            Moreover, the district court’s authority to modify a sentence is constrained by the Sentencing

 6   Commission. Dillon v. United States, 560 U.S. 817, 826-27 (2010). A two-step inquiry is required

 7   under 18 U.S.C. § 3582(c). Dunn, 728 F.3d at 1155 (citing Dillon, 560 U.S. at 826-27). “First, a

 8   district court must determine whether a prisoner is eligible for a sentence modification under the

 9   Commission’s policy statement in [§ 1B1.10].” Id. If the defendant is eligible, the district court

10   then “consider[s] any applicable [18 U.S.C. § 3553(a)] factors and determine[s] whether, in its

11   discretion, the reduction authorized by reference to the policies relevant at step one is warranted in

12   whole or in part under the particular circumstances of the case.” Id. (quoting Dillon, 560 U.S. at

13   827).

14            Original Sentence Imposed

15            On August 12, 2013, Defendant pled guilty to possession with intent to distribute

16   methamphetamine, in violation of 21 U.S.C. § 841(a)(1). Docs. 256, 296. The total amount of

17   methamphetamine attributable to Defendant is at least one pound of methamphetamine that

18   contained at least 50 grams of actual methamphetamine. PSR, at 15. Thus, the original base offense

19   level was 32 for the amount of methamphetamine involved the case, and a criminal history category

20   of III. Id. Under § 3E1.1(b), Defendant’s acceptance of responsibility warranted a three-level

21   reduction, to a level 29. Id., at 17. Nevertheless, because at least 50 grams of methamphetamine

22   was involved in this case, Defendant’s offense subjected him to a statutory 120-month mandatory

23   minimum sentence. 21 U.S.C. § 841(b)(1)(A)(viii). Accordingly, pursuant to § 5G1.1(b), which

24   requires that the statutorily required minimum sentence be the guideline sentence, the PSR

25   recommended a 120-month term of imprisonment. PSR, at 9.

26            On November 4, 2013, the Court adopted the PSR’s recommendation and sentenced

27   Defendant to a 120-month term of imprisonment, a 60-month term of supervised release, and a

28   mandatory $100 special assessment. Docs. 409, 412.
                                                        2
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 1          Application of Amendment

 2          Amendment 782 modifies the Drug Quantity Table to lower base offense levels by two

 3   points for most federal drug offenders. Amendment 782, § 1B1.10. However, “a defendant whose

 4   sentence is controlled by a statutory mandatory minimum is not eligible for a sentence reduction

 5   under [18 U.S.C. § 3582(c)].” United States v. Paulk, 569 F.3d 1094, 1096 (9th Cir. 2009). In this

 6   case, Defendant was sentenced pursuant to a statutory mandatory minimum. PSR, at 9; Doc. 412.

 7   Thus, because Defendant is ineligible for a sentence reduction, the Court must deny his motion. See

 8   United States v. Sykes, 658 F.3d 1140, 1146 (9th Cir. 2011) (“A retroactive amendment to the

 9   Guidelines cannot reduce a sentence below the statutory minimum term.”).

10          Although the Court is without authority to reduce Defendant’s sentence, the Court commends

11   Defendant for his many accomplishments while in prison, which include the completion of courses

12   on non-violence, freedom from drugs, and vocational pursuits, and his progression towards earning

13   his GED. The Court’s denial of the instant motion is in no way a reflection of Defendant’s

14   character, but is a matter of law.

15          CONCLUSION AND ORDER

16          For the foregoing reasons, IT IS HEREBY ORDERED that Defendant Armando Nunez’s

17   motion to reduce his sentence is DENIED, pursuant to 18 U.S.C. § 3582(c)(2).
     IT IS SO ORDERED.
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19      Dated:     November 17, 2015                       /s/ Lawrence J. O’Neill
                                                      UNITED STATES DISTRICT JUDGE
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